Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page1of1i6 Page ID #11638

ln the United Glates District Court

 

 

 

 

 

 

 

 

 

 

{or the D at PCC and E-Mailec
| ysl (date) by <p Arniias)
CeCe Lowney AV) (# _
a Class Member Noncy J. RoSENSTENGEL
aint nS ee

 

 

Ro Tees

AL a 6 Benn oT
Steue, Mee S, MELWAIN HIN TaN. and | COSe NOS iP CV-dO\SON SR

 

 

 

 

_|Motion Ta Enfarce order / Peetx WINARY rN.) uNT-Tan}

—___|Nond Comes the Plaioti€? (Pra-se) Seekins, this Neaccoble
Court _orant hec Matian +o enforce ardec —

__|with attachneatsexQ— O ~ Plaintiff

 

 

150. transgender mioman uo ses by the

— Aarne Natalie Paclina and “a Class

 

 

 

——+

 

See. Gx 8 Maiib? wns Seine, Codocticdgasd
~ fhe. Bag Leyden one muctily te Soklyc Cayce
=,

 

 

Doin: with esirapen due yo. LO.
Pistary_ot DIT _blsod clots. nt s.
last isit with Or-Loyden uss @cAshe

yas Suppsce. to be. tweckeduled “bo see
Or. Leyden ia YuretsS never Rogen
_ 233 |

Last ARReiciMeMt with Or. Laycen Was a-

 

 

= od Mantis was Atoas¥ed to Botiac Caectional
—_ Medical Decker who claimed to
a Out plaisti LP ia o ee De laden

| (Annee AL ae A Meave™ Wana. \
Case 8:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 2of16 Page ID #11639

2
__&. Lost tire, PlaintiR ind her
____ Molactia_Lesel cheothed it aS
igh Cee Exe B Oot been

— hese

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 SPlaint PP asks this honorable judog to
— __jenfocce her preliminary Inyunctich. Keo
| 8-9-2632) onder _delendants” +o

|. check Paintit? Prslactin \eue) inithin Ideys ifits
- e\noked aie Vaintit? o MRT
__—2_order Plaintifl testart Seeing hee endoocialgast
De. Brian Layden ro sakely wontiac Ker
____ estrogen due to her histacy_of du ¥ blood dot:
—__3_ Submit Plaintif? Ser hair semonl on pec Pace.

=U Submit PlaicriPl Lee Tap 3

Sucaey
A | cy

 

 

 

 

 

 

 

 

 

 
Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 3o0f16 Page ID #11640

 

 

 
 

  

fs trans ee ta Laoah C.C....

— Ma HiFY has urea a acieuance
© Gtheuckess rer rearedies se Gx Nand

= == == |WIHEREFORE THe Fagecotne THES PLAN Ter

_ PRG SE ASKS THOS HanoRABCE Court ro
GRANT THREES MoOTICA To Enforce ofPeR

| MIS REARGY “Su ported) _
Peony | Bo Peck Oo Feb 9-13-42

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a ee
f SS

 
 

nae ie 02/48/22 Page 4 of 16 Page ID#11644

” Case 41 8RV-OOTSONSR ~DBocument 392 Fil UISt Wvvorveg
J, Jeremy S (MRN 081269625) DOB: 12/02/1986 Encounter Date: 09/23/2021

Xx.
; Lowre J eremy S WW (700° 2 MRN: 081269625

or 8 / 24.)
Telemedicine 9/23/2021 Provider: Brian Layden, MD, PhD (Endocrinology)
UCC NutritionWeliness Primary diagnosis: Transgender

 

 

 

Endocrinology
Sees
—_
f Progress Notes Brian Layden, MD, PhD (Physician) « Endocrinology

Before the initiation of today's documented service, the patient or patient guardian verbally
consented to virtual/remote treatment. The topics discussed are listed in the assessment &
plan in this note.

IDOC consult-followup
34 y/o F {(M to F, transgender), prefers Natalie

“Pt states always felt female.

In her teenage years, she wore makeup. She would go to drag shows. She started ordering
hormones, from UK, 18 yts - 2yrs coumadin, she has a dyt in left leg. She was taking estadrio!
4mg and smoking 2 packs/tobacco,

Currently, pt is on testosterone blocker - spironlactone - 100 bid, no estrogen due to concerns
of DVT, She also has a desire for surgery (only breast).”

On coumadin and estrogen po,

Was placed in special lockup for some unclear reasons
Very stressful, tried to committ suicide

Psych wants her now at mental facility.

Still has erections, which is major concern taday

Recelved first eligard shot-3.5 weeks ago

Asa-81

Zrytec 10 daily
Synthroid 125 daily
Risperdal 1.5

Buspar

Omeprazole 20 daily
Zoloft 200 daily
Estradiol 2mg bid
Cournadin 13 mg

ROS negative as below.

ROS-unchanged
\No fic

~ sob

%

Rosa Isela Lujen, MA at 1/24/21 12:27 PM Page | of 3

\
i

 

 
Soe te eee ee ee cna FOROS arg ee ty

Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page5of16 Page ID #1Té47"
Lowrey, Jeremy $ (MRN 081269625) DOB: 12/02/1986 Encounter Date: 09/23/2021 Ga

Nocp

No rashes

No mood changes
No diar./constip.

PMH/PSH
OVT (while on estrogen-oral and using tobacco)

FH- No DVT
SH-heavy tob use, not currently

INR between 2 and 3 now
Chem -NML on 1/2021
PE and VS-deferred

Labs reviewed-estrogen still low 56, now 20

Labs from 9/2021
Pri 37.8

Test 8,

Estardiol 51

Impression/Plan
Natalie ts a 34 y/o M-F transgender, currently being treated with spimolactone and

estrogen and coumadin, report shows superficial venous thrombosis-prreviously, now resalved.
Estrogen oral now, patch failed

Plan

Superficial venous thrombosis: would like to have appt with Dr, John Quigley at UIC
(hematologist), but have had challenges arranging

Estrogen t« cont coumadin , higher patch did not reach goal. An even higher dose patch not
available when reviewed with pharmacy.

--Discussed with pharmactst, Boswell, extension 151, 814-629-1 397, Pt fully aware of risk of
oral estrogen, but wants to proceed with oral.

--Not at goal. INCREASE to 3mqg bid of estradiol

~-Discontinue spiron, conteligard 7.5 mg monthly subQ, clinical pharmacist agreed, discussed
SE with patient, she understands fully

Reconstructive transgender surgery: Gender confirming surgery (working on guidelines at
{DOC}, While last time pt desires surgery as follows : Vaginoplasty, orchiectomy, breast
reconstruction), today_SHE reports top surgery and laser treatment first (but she is aware IDOC
not doing these now). She has concerns leaving male prison following bottom surgery.

Printed by Rosa Isela Lujen, MA at 11/24/21 12:27 PM Page 2 of 3
 

®

Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 6of16 Page ID
Lowrey, Jeremy S (MRN 081269625) DOB; 12/02/1986 Encounter Date: 09/23/2021 CQ A

a ta a

“——— meme wae “8 a Sat bb ta ay HhdGAB. vv

Aaron Pardieck QMHP j

Aaron Pardieck@lllinois.gov
Melissa Schenkel Mental Health Authority Melissa, Schenkel@Illinois.coy

Cosmetic: Laser hair removal-hair (they may be doing in IDOC ), will wait for now
Thyroid issue. Stable on recent check

Labs before next appt (prolactin-which was acutely elevated-possible from new psych med,
ilso need repeat estradiol, and testosterone)

Will need to ensure continuation of care if goes to psych facility.

RTC arranged in 4 weeks. Fo\lous UP Never Kh OUP P ened)
a

Additional Documentation

Encounter Info: Billing Info, History, Allergies

Communications

) Letter sent to Casey Hodgeman

Orders Placed

None

Medication Changes
As of 9/23/2021 3:33 py

None

Medication List at End of Visit
As of 9/23/2021 3:33 PIM

None

Visit Diagnoses

Primary: Transgender F64,0

Printed by Rosa Isela Lujen, MA at 11/24/21 12:27 PM Page 3 of 3
 

Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 7 of 16 Page( 411644

tan

University of Illinois Hospital & Health Sciences System
Reference Laboratory
840 South Wood Street Room 170 (M/C 750)

& UI Health @ Chicago, IL 60612

Ph: 312.355.5800

Laboratory Director: Frederick G. Behm, MD

 

 

Hill Correctional Center
600 S Linwood Rd
PO Box 1327

Galesburg Iilinois 61402

PATIENT NAME DOB MRN SEX REQUISITION NO.
Lowrey, Jeremy S 12/2/1986 081269625 male RQ597333
PHYSICIAN OUTSIDE MRN PRINTED DATE

KRAMER, KASEY A221-M12002 9/22/2021 2:01 AM
Component Value Ref. Range

 

-Scr is serum creatinine in mg/dL

@* > 17 years

References:

1. Levey AS, Coresh J, Greene T, at al. Using standardized serum creatinine values in the modification of diet in renal disease study equation for
estimating glomerular filtration rate. Ann Intern Med. 2006;145(4).247-254.

2. Levey AS, Coresh J, Greene T, et al. Expressing the Modification of Diet in Renal Disease Study equation for estimating glomerular filtration rate with
standardized serum creatinine values. Clin Chem. Apr 2007:53(4):766-772.

 

Specimen Type: Blood Specimen Source: Blood, Venous Specimen: 21H-261CH0546. Ordered by Unspecified. Authorized by Kasey Kramer. Collected:
9/17/2021 1145 Received: 9/18/2021 0517. Verified: 9/18/2021 0609. Resulted by Ul HEALTH PATHOLOGY LABORATORY.

Estradiol (Final result)

 

 

Component Value Ref. Range

ESTRADIOL 51 , 15-31 PG
Sensitive Estradiol ts not Intended to monitor the effects of patients receiving astradial supplements. The magnitude of a falsely increased or decreased
Sensilive Estradiol test result depends upon the concentration of Estrogen, Estrogen-3-sulfale and Estradio\ thal are present in the sample.

Specimen Type: Blood Specimen Source: Blood, Venous Specimen: 21H-261CH0546. Ordered by Unspecified. Authorized by Kasey Kramer. Collected:

9/17/2021 1145 Received: 9/18/2021 0517. Verified: 9/18/2021 0645. Resulted by UI HEALTH PATHOLOGY LABORATORY.

 

Prolactin (Final resull)

=. “Value ~ Ref. Range
PROLACTIN 37.8 (H} 26-13. NGML

eer WHE Bled SPECinre “Te Specie acne A Kasey Kramer. Collected:
9/17/2021 1145 Received: 9/18/2021 0517. Verified: 9/18/2021 0622. Resulted by UI] HEALTH PATHOLOGY LABORATORY.

 

 

 

      

  
  
 

Testosterone (Final result)

 

Component : Vaiue Ref. Range
Testosterone, Adult Male 8 (L} 300-7080 gid

 

Tota! testosterone values may not reflect optimal concentrations
in all individuals. Free or bioavailable testosterone measurements
may provide supportive information.

REFERENCE INTERVAL: Testosterone, Adult Male

Access complete set of age- and/or gender-specific reference

intervals for this test in the ARUP Laboratory Test Directory

(aruplab.com).

Performed By: ARUP Laboratories

500 Chipeta Way

Salt Lake City, UT 84108

Laboratory Director: Tracy |. George, MD
Specimen Type: Blood Specimen Source: Blood, Venous Specimen: 21A4-261RA0015. Ordered by Unspecified. Authorized by Kasey Kramer, Collected:
9/17/2021 1145 Received: 9/18/2021 0517. Verified: 9/21/2021 2223. Resuliad by ARUP.

Patient: Lowrey, Jeremy S MRN: 081269625 RQ597333 Page: 2 of 3
Cased 32S cROISANIR DpwuURentSS2 FA Bas 1°4kye a dba Hagel EES

CpeC

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

JANIAH MONROE,

MARILYN MELENDEZ,

LYDIA HELENA VISION,

SORA KUYKENDALL, and

SASHA REED, individually and on
behalf of a class of similarly situated
individuals,

Plaintiffs,
Vv.
STEVE MEEKS,
MELVIN HINTON, and
ROB JEFFREYS,

Defendants.

 

Case No. 3:18-CV-00156-NJR

PRELIMINARY INJUNCTION

ROSENSTENGEL, Chief Judge:

Pursuant to Rule 65(d)(1)(C) of the Federal Rules of Civil Procedure and

MillerCoors LLC v. Anheuser-Busch Companies, LLC, 940 F.3d 922 (7th Cir. 2019), the Court

issues the following preliminary injunctive relief. This relief is in addition to the previous

preliminary injunction at Doc. 212, which CONTINUES in force.

The Court ORDERS the following additional relief:

1. Plaintiffs Sora Kuykendall and Sasha Reed shall, within 7 days of the date
of this Order, be given lab tests to check their prolactin levels. If those levels
are still elevated, they shall be given an MRI test within 5 days of receipt of

the prolactin results.

2. Each member of the Plaintiff class who is currently receiving hormone
therapy shall, within 14 days of the date of this Order, be given blood tests
to_assess hormone levels, as well as potassium, creatinine, and prolactin

Page 1 of 4
CASE STE OR DSO BR OBOE Hane S42 He HedG 51 PRaGe SOF Rage Bee
Cx.8

levels (for transgender females) and hemoglobin/hematocrit levels (for
transgender males). Thereafter, if the hormone levels are not within the
appropriate range set forth by the Endocrine Society Hormone Guidelines
(for transgender females, testosterone of less than 15 nanograms/ deciliter
and estradiol between 100-200 picograms/ milliliter; for transgender males,
testosterone levels between 400-600 nanograms/ deciliter), Defendants shall
ensure that the individual’s hormone medication is titrated following
receipt of the bloodwork results and bloodwork repeated at least every
3 months until the levels are within an appropriate range.

3. Any Plaintiff class member who has requested hormone therapy to date
shall, within 21 days of the date of this Order, get baseline bloodwork done
and hormone therapy started within 14 days thereafter, with follow-up
bloodwork at least every 3 months until the levels are within an appropriate
range.

4. Each Plaintiff class member receiving hormone therapy shall get bloodwork
done at least once a year to assess hormone levels, as well as potassium,
creatinine, and prolactin levels (for transgender females) and
hemoglobin/ hematocrit levels (for transgender males) and shall be treated
as medically indicated by the results. No Plaintiff class member shall be
prescribed conjugated estrogen.

5. Any Plaintiff class member whose hormone levels are’ within the
appropriate range, and who has requested evaluation for gender affirming
surgery, shall be evaluated for such surgery within 120 days of the date of
this Order with inmates being evaluated in chronological order of the date of
the inmate’s original request for surgery. Each class member so evaluated
shall be provided a prompt written notification of the decision and, if
surgery is denied, the written notification shall include an explanation of
the reasons for denial and a timeframe to request another evaluation
thereafter.

6. Plaintiff class members shall be allowed to choose the gender of the
correctional officer who will conduct a search of their person, and the search
SHALL BE conducted by a correctional officer of the gender requested.

7. Each Plaintiff class member who has requested transfer to a facility J
matching his or her expressed gender (female facility for transgender
women, male facility for transgender men) shall be evaluated for transfer
within 120 days of the date of this Order, with inmates being evaluated in
chronological order of the date of the inmate's original request for transfer.

Each class member so evaluated and denied transfer shall be promptly

Page 2 of 4
Case 3:18-cv-

1 156-N Document 392 Filed 02/18/22, Page 10 0f16 Page ID #11647
Case 3:18

00 JR
V-00156-NJR Document 332 Filed 08/09/21 Page 3of4 Page ID #7684

CXL

provided with a written explanation of each reason for the denial and

allowed to request another evaluation for transfer within 180 days
thereafter.

/ 8. Each Plaintiff class member shall immediately be provided with access to
gender affirming items in the commissary and shall immediately be
provided with a list of available gender affirming items. Defendants shall
immediately ensure all approved gender affirming items are available at
the commissary at each class member’s institution. Defendants shall, within
30 days of the date of this Order, provide the Court with a list of all
commissary items available at each facility.

9. Defendants shall immediately ensure that medical care and mental health
treatment of Plaintiff class members shall be conducted only by medical
staff and mental health professionals who have taken WPATH training and
are committed to continuing education on issues of transgender health.
Similarly, medical providers and mental health professionals who hold
personal or religious beliefs that prohibit their treatment of inmates with
gender dysphoria shall have no contact with any member of the class from
this date forward.

10. Defendants shall immediately ensure that transgender inmates are allowed
access to a private shower.

Again, the Court acknowledges Defendants have made some progress toward
compliance with the Court’s orders for preliminary injunctive relief (Docs. 186, 187,
amended at Doc. 212), and recognizes that the COVID-19 pandemic has caused some of
the delays in accomplishing compliance. This progress must continue. To that end, the
Court further ORDERS Defendants to finalize the following “in progress” projects
within 120 days of this Order.

1. Finalize the contract with Wexford to provide hair removal services to fo
Plaintiff class members;

2. Finalize the contract with Dr. Schechter to provide gender affirming
surgery to Plaintiff class members who are approved to receive such

surgery;

Page 3 of 4
 

Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 11of16 Page ID #11648
Case 3:18-cv-00156-NJR Document 332 Filed 08/09/21 Page 4 of 4 Page ID #7685

3. Finalize and implement the CQI (Continuing Quality Improvement)
program for transgender care;

4. Finalize IDOC’s written surgical standards for transgender care;

5. Finalize and implement the PRISM project (the special population
program) (discussed in Doc. 326, pp. 640, 648-49, 651)

6. Finalize and implement additional and ongoing training for all correctional
staff on transgender issues and awareness, including the harm caused by
misgendering and harassment;

“I

Finalize and impiement training for inmates and staff at Logan Correctional
Center regarding incoming/ transferred transgender inmates;

8. Finalize and implement IDOC’s transgender identification policy.

IT IS SO ORDERED.
DATED: August 9, 2021

GG 4

NANCY J. ROSENSTENGEL
Chief U.S. District Judge

 

Page 4 of 4
Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 12o0f16 Page ID #11649
Cx

ILLINGIS DEPARTMENT OF CORRECTIONS
RESPONSE TO OFFENDER'S GRIEVANCE

 

 

| Grievance Officer's Report |
Date Received: 41/09/2021 Date of Review: q1v2ar2021 Grievance # (optional): oo4921
Offender, Lowrey, Jaremy ing, M42002

 

Nature of Grievance:

Medical (Treatment)- DENIED MEDICAL TREATMENT SINCE 9/24/21 (TRANSGENDER
MEDICATIONS, BLOOD DRAWS, AND SEEING DR.)

 

 

Facts Reviewed:

Patient grieves medical treatment by facility HCU. Individual transferred into Pontiac Correctional
Center on 9/24/21. Individual claims he was scheduled on 40/1/21 for hair removal and bottom
surgeries through Hill Correctional Center, and transfer to Logan Correctional Center. Individual
further grieves he has not seen Medical Director Dr. Tilden, has not had an appointment through
telemed to see his endocrinologist, and has not had lab work done.

Counselor's Response: Contacted Health Care Administrator, Davis, who states at Lowry has been
placed on medical list to be seen by Dr. Tilden on 11/5/24.

The grievance dated 10/13/21 was read and the applicable medical record was reviewed by this
Grievance Officer, Per Medical Records Staff Assistant K. Kissiar, nowhere in Individual's chart does it
indicate a surgery scheduled for bottom or hair removal surgeries at Hill C.C. Individual was seen by
Dr. Tilden on 10/26/21 for gender dysphoria (transgender). Individual had his blood drawn on
10/28/21. Individual last saw his endocrinologist on 9/23/21 and is scheduled to see him again on
11/29/21.

If you are in need of medical attention, nurses are available 7 days a week. Contact the gallery officer
to obtain a Medical Request Form and fill it out accordingly then submit it. Once HCU has received
your slip you will be seen at sick call and evaluated and treated or referred to MD/NP sick call.

 

Recommendation:

Based upon a total review of all available information, it is the recommendation of this Grievance
Officer that the offender's grievance be considered MIXED ACTION. MOOT at this juncture based on
Individual having seen Dr. Tilden, receiving his blood work request, and an upcoming endocrinologist
appointment. Any other judgment upon the issue that when returned for cause would have no practical
effect upon the existing controversy. DENIED based on no “WY ¢ scheduled surgeries.

 

 

 

 

 

H. Zingre
Print Grlevance Olficer's Name — evence Officer's Signature
(Atlach a copy of Offender's Gri , cluding lor’s rest ppiicable)
| Chief Administrative Officer's Response |
Dat ived: - i
# Racelve _fh-29-2/ (9 concur (0 (do not concur OO Remand

Action Taken:

 

Pho Bulg __ Lda
Chief Administrative Olficar's Signatura Date
a

 

 

 

| Offender's Appeal To The Director |

lam appealing the Chief Administralive Officer's decision to the Director. | understand this appeal must, within 30 days alter the date of lhe Chief
Administrative Officer's decision, ba rBtelved by the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach s complete copy

SN a eS rp AI A |

ANON
i, i \au das Signature i\ Gee

A). Fite; Olander } Page 1 DOC 0047 (A

Printed pa Revotal Piger

  
 

 

 

 

 

 

 

¥v. UZ019}

 
Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 130f16 Page ID Be
Xe)

Rob Jeffreys
Director

J.B. Pritzker
Governor

 

The Illinois Department of Corrections

 

13014 Concordia Court, P.O. Box 19277 « Springfield, IL 62794-9277 + (217) 558-2200 TDD: (800) 526-0844

Name: Lowrey, Jeremy 1/20/22
Bate

 

ID# : M12002

 

Facility; Pontiac

This is in response to your grievance received on 1/7/22 . This office has determined the issue will be addressed without
a formal hearing. A review of the Grievance, Grievance Officer/CAO response to the grievance has been conducted. For a grievance that
is direct review by the ARB, a review of the Grievance has been conducted.

Your issue regarding: Grievance dated: 10/13/24 Grievance Number: 994921 Griev Loc: PON

C Transfer denied by the Facility
Dietary

 

Personat Property

 

Mailroom/Publications

 

Assignment (job, cell)

 

Commissary / Trust Fund Transgender items available since arvival 9/24/21

Conditions {cell conditions, cleaning supplies, etc.)

 

OOmoaodad

Disciplinary Report: Dated: Incident #

 

[HM Other Transgender medical trealment/updates since arrival 9/24/21

Based on a review of all available information, this office has determined your grievance to be:

 

1 Affirmed, Warden is advised to (J Denied as the facility is following the procedures outlined in

provide a written response of corrective action to this office by DR525.

° [] Denied as procedures were followed in accordance with DR

oO Denied, in accordance with DR5O4F, this is an administrative 420 for removal/denial from/for an assignment.

decision. (CO Denied as this office finds no violation of the grievant's due
(Denied, this office finds the issue was appropriately process in accordance with DRS04.80 and OR504.30, This

addressed by the facility Administration. office is reasonably satisfied the offense cited in the report

was committed.

[Ml Other, While items may not always be in stock, a review of your Commissary purchases, does reflect the purchase of
transgender items. Claims thal a surgery was scheduled, prior to your transfer to Pontiac, was not substantiated. Between 10/4/21 and

1/20/22, you've been-egheduled 24 times for either lab work, HCU trealmenvvisit or to he seen by Mental Health Staff.

FOR THE BOARD: Sey KB oN WIN CONCURRED:

Sherry Benton
Administrative Review Board

 

CC: Warden, Pontiac Correctional Center
Lowrey, Jeremy —ipe M12002

 

 
    

 

NNN ee AN SE ee

Mission: To serve justice in itlinois and increase public safely by promoting positive change for those in custody,
operating successful reentry programs, and reducing victimization.

www.illinois.gov/idoc
Case 3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 14o0f16 Page ID #11651

Th The United States Disitict Court
— — fot The caste Gistrich oF a iS

 

 

 

 

 

 

 

 

 

Bisa “Lowey calatn hie. Das AQ) Abclares unde gestaly,c8 gexyuty’
i A, _¥a.0n sre glaictif? ood 7 hase menor Maske
An 5s a 8idonit, io unto of! mypstan tn. asa

—ofter / Pelieninery injunction. =

a. ules Seeing, Or. Brian Loyden_ance a ment
Ae -_ Omuide Me wit horamcneas dwe

A co NSIC YE ot OwT Baad clos the

Nest Fire =r Ysaus Oe Layden ons
9-ayal.

3. IT was. “Kose to Neiag_cescectico
—e OAY-Q\_Sassy Or Tiden otha claioech _
| Toast ore in Xa AY. YY TWoe
___ Gapcintmentr ceec hagemed
- Se geamnnce See Gx.) Seeing

= -heir—Cemuedap-Susaery | fon Sug
- “and Se S a SUNY ame ary
ta See ot ocd acting. hadPenech

 

 

 

 

 

  

 

 

 
Case

 

3:18-cv-00156-NJR Document 392 Filed 02/18/22 Page 15o0f16 Page ID #11652

 

 

 

 

 

 

 

 

— Suirero, and a transkec

—{ ta ~ Ligaen “ro C 4 Wo. - —

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

niioinasntttettins 2 ——— _
Se ee oe ee
_ _

 

 
+6—Page 1D #Ti16ss-

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS
prisoner.csl@iisd.uscourts.gov
ELECTRONIC FILING COVER SHEET

Please complete this form and include it when submitting any type of document, letter, pleading, etc. to
the USS, District Court for the Southern District of Illinois for review and filing.

Ceremy Leoute, MIQCO3,

ID Number

Please answer questions as thoroughly as possible and circle yes or no where indicated.

1. . Is this a new civil rights complaint or habeas corpus petition? Yes or (to)
If this is a habeas case, please circle the related statute: 28 U.S.C. 2241 or 28 U.S.C. 2254

2. Is this an Amended Complaint or an Amended Habeas Petition? Yes of NO,

 

If yes, please list case number:
If yes, but you do not know the case number mark here:

3, Should this document be filed in a pending case? Yes of No)
lf yes, please list case number:

 

 

If yes, but you do not know the case number mark here:

4. Please list the total number of pages being transmitted:
5; —If mtiltiple documents, please identify each document and the number of pages for each
document. For example: Motion to Proceed In Forma Pauperis, 6 pages; Complaint, 28 pages.

Name of D t ‘Number of P
Walon “Ts. Catatce_ otter (Prelmaacy To ychion wen wT aka Ewvernibit's

Ersh-D ,

Qeclornetion insurer vsiortn Enface der [Mranino_ALPA NS

 

 

 

 

Please note that discovery requests and responses are NOT to be filed, and should be forwarded
to the attorney(s) of record. Discovery materials sent to the Court will be returned unfiled.
